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           EXHIBIT 3
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Gene Colan




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Gene Colan

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Gene Colan




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 Gene Colan


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Gene Colan




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Gene Colan




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Gene Colan


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